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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter       7
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Koontz-Wagner Custom Controls Holdings LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  6510 Bourgeois Rd.
                                  Houston, TX 77066-3110
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Harris                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Koontz-Wagner Custom Controls Holdings LLC                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                        Chapter 9
                                        Chapter 11. Check all that apply:
                                                         Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                  Relationship
                                                 District                                 When                           Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor   Koontz-Wagner Custom Controls Holdings LLC                                              Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or       No
    have possession of any
    real property or personal    Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?

                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?

                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50     million             $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Koontz-Wagner Custom Controls Holdings LLC                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 11, 2018
                                                  MM / DD / YYYY


                             X   /s/ Timothy M. Howsman                                                   Timothy M. Howsman
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Vice President, Finance




18. Signature of attorney    X   /s/ Mark E. Andrews                                                       Date July 11, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Mark E. Andrews 01253520 (TX State Bar No. 01253520)
                                 Printed name

                                 Dykema Gossett PLLC
                                 Firm name

                                 Comerica Bank Tower
                                 1717 Main Street Suite 4200
                                 Dallas, TX 75201
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (214) 462-6400                Email address      mandrews@dykema.com

                                 01253520 TX
                                 Bar number and State




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             WILLIAMS INDUSTRIAL SERVICES GROUP INC. (THE “COMPANY”)
                              ON BEHALF OF ITSELF
                                      AND
                                AS MANAGER FOR
         KOONTZ-WAGNER CUSTOM CONTROLS HOLDINGS LLC (“KOONTZ-WAGNER”)

             Proposed Board Resolutions [TO BE INSERTED INTO BOARD MINUTES THAT
                         WILL PROVIDE MORE CONTEXT TO SITUATION]


                                                    July 9, 2018

Koontz-Wagner Chapter 7 Bankruptcy Proceeding

         WHEREAS, the Company is the sole manager of its wholly-owned subsidiary, Koontz-Wagner;

          WHEREAS, Koontz-Wagner has been experiencing financial difficulties and other challenges, and in an
effort to address those issues, commenced a process to identify strategic alternatives that would facilitate the
continued operation of the Koontz-Wagner business;

          WHEREAS, the process of identifying strategic alternatives for the continued operation of the Koontz-
Wagner business has concluded without a successful result and Koontz-Wagner is insolvent and unable to pay its
debts as they mature;

          WHEREAS, the Company established an independent working group (the “Koontz-Wagner Working
Group”) comprised of management of Koontz-Wagner and the Company, in each case, to identify and evaluate
alternatives to address Koontz-Wagner’s financial difficulties and other challenges, solely from the perspective of
the best interests of Koontz-Wagner, and present a recommendation to the Board;

         WHEREAS, the Koontz-Wagner Working Group completed its review and analysis of various alternatives
in accordance with the Company’s directives as stated above and submitted a recommendation to the Board, for the
benefit of the Company in its capacity as manager of Koontz-Wagner, that the Company authorize and direct
Koontz-Wagner to file a petition for relief under Chapter 7 of Title 11 of the United States Code as soon as possible;

        WHEREAS, the Board reviewed the materials presented by the Koontz-Wagner Working Group, the
management and the legal advisers of the Company regarding the liabilities and liquidity situation of Koontz-
Wagner, the strategic alternatives available to Koontz-Wagner, the Koontz-Wagner Working Group
recommendation that Koontz-Wagner commence a Chapter 7 bankruptcy proceeding as soon as possible, and the
impact of the foregoing on Koontz-Wagner and other interests;

        WHEREAS, the Board has had the opportunity to consult with the Koontz-Wagner Working Group, the
management and the legal advisers of the Company and fully consider the strategic alternatives available to Koontz-
Wagner and the Koontz-Wagner Working Group recommendation that Koontz-Wagner commence a Chapter 7
bankruptcy proceeding as soon as possible; and

         WHEREAS, the Board believes that it is in the best interests of Koontz-Wagner for Koontz-Wagner to file
a voluntary petition under Chapter 7 of Title 11 of the United States Bankruptcy Code with the United States
Bankruptcy Court for the Southern District of Texas.

        NOW, THEREFORE, BE IT RESOLVED, that the Company, solely in its capacity as manager of
Koontz-Wagner, authorizes and directs Koontz-Wagner to file as soon as practicable a bankruptcy proceeding in
accordance with Chapter 7; and

          RESOLVED FURTHER, the Company, solely in its capacity as manager of Koontz-Wagner, authorizes
directs, and designates Tracy D. Pagliara, President and Chief Executive Officer of the Company, to cause the
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Company to immediately provide the authorization and direction to Koontz-Wagner to commence a Chapter 7
bankruptcy proceeding as soon as possible.

Amendment to the Centre Lane Credit Agreement

          WHEREAS, in connection with the proposed Koontz-Wagner Chapter 7 bankruptcy proceeding, the
Company has determined that it is advisable and in the best interests of the Company to enter into a Consent and
Fifth Amendment (the “Centre Lane Amendment”) to the certain Senior Secured Credit Agreement, dated as of June
16, 2017, as amended and restated through the date hereof, between the Company, as borrower, with each financial
institution thereto as lender, Centre Lane Partners Master Credit Fund II, L.P., as administrative agent and collateral
agent for the lenders, and guaranteed by certain subsidiaries of the Company (the “Credit Agreement”), to address,
among other things, the filing of the commencement of the proposed Koontz-Wagner Chapter 7 bankruptcy
proceeding;

         WHEREAS, the Centre Lane Amendment also extends the date of a certain mandatory prepayment under
the Credit Agreement to April 1, 2020 and makes certain other changes to the Credit Agreement, in each case
subject to the terms and conditions of the Centre Lane Amendment; and

        WHEREAS, the Board has determined that it is advisable and in the best interests of the Company to
approve the Centre Lane Amendment.

        RESOLVED, that the Centre Lane Amendment and the transactions contemplated thereby be, and the
same hereby are, authorized and approved in all respects;

          RESOLVED FURTHER, that any officer of the Company (each such person, an “Authorized Officer”) be,
and each of them hereby is, authorized and empowered to execute and deliver the Centre Lane Amendment,
including all exhibits and schedules attached thereto, in the name and on behalf of the Company with such additions,
deletions or changes therein (including, without limitation, any additions, deletions, or changes to any schedules or
exhibits thereto) as the Authorized Officer executing the same shall approve (the execution and delivery thereof by
any such Authorized Officer to be conclusive evidence of his or her approval of any such additions, deletions or
changes); and

          RESOLVED FURTHER, that the Company be, and hereby is, authorized and empowered to perform all
of its obligations under the Centre Lane Amendment and the Credit Agreement.

Form 8-K

         WHEREAS, in connection with the commencement of the Chapter 7 bankruptcy proceeding by Koontz-
Wagner and the Centre Lane Amendment, the Company intends to file a Current Report on Form 8-K (the “Form 8-
K”) with the U.S. Securities and Exchange Commission (the “SEC”) disclosing certain information relating to such
matters.

        RESOLVED, that the Form 8-K, in the form presented to the Board of the Company, be, and it hereby is,
approved by for filing with the SEC, subject to changes considered necessary and appropriate by the Company’s
management.

Miscellaneous

         RESOLVED, that the officers and agents of the Company and Koontz-Wagner, as the case may be, be, and
each of them hereby is, authorized, empowered, and directed to do or cause to be done all other acts, and to prepare,
execute, deliver, file, and perform such further documents, instruments, certificates, and agreements, or any
amendments or supplements thereto, as such officer may deem necessary, proper, or appropriate to effect the
purposes of these resolutions contemplated hereby; and
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         RESOLVED FURTHER, that all actions taken by any officer of the Company and Koontz-Wagner in
furtherance or pursuance of these resolutions, or any document, instrument, certificate, or agreement, or any
amendment or supplement thereto, whether taken previously or subsequently hereto, are hereby authorized,
approved, adopted, and ratified in all respects.
